          IN THE UNITED STATES DISTRICT COURT                        
         FOR THE MIDDLE DISTRICT OF ALABAMA                          
                  SOUTHERN DIVISION                                  

BOBBY THOMAS,                   )                                         
                           )                                         
Plaintiff,                 )                                         
                           )                                         
v.                              )       CASE NO. 1:20-CV-430-KFP          
                           )                                         
ANDREW SAUL,                    )                                         
Commissioner of Social Security,   )                                      
                           )                                         
Defendant.                 )                                         

          MEMORANDUM OPINION AND ORDER                               
The Commissioner has filed an Unopposed Motion for Entry of Judgment Under 
Sentence Four of 42 U.S.C. § 405(g). Doc. 16. The Commissioner also filed a supporting 
memorandum asserting that reversal and remand are necessary so the Commissioner may 
give  further  consideration  to  the  medical  source  statement  of  Paul  Weeks,  D.C.,  in 
accordance with 20 C.F.R. § 416.920c. Doc. 17. In addition, the parties consented to entry 
of final judgment by the United States Magistrate Judge under 28 U.S.C. § 636(c). Docs. 
8 and 9.                                                                  
Sentence Four of 42 U.S.C. § 405(g) authorizes the district court to “enter, upon the 
pleadings and transcript of the record, a judgment affirming, modifying, or reversing the 
decision of the Commissioner of Social Security, with or without remanding the cause for 
a rehearing.” 42 U.S.C. § 405(g). The district court may remand a case to the Commissioner 
for a rehearing if the court finds “the decision is not supported by substantial evidence [or 
the Commissioner or ALJ] incorrectly applied the law relevant to the disability claim.” 
Jackson v. Chater, 99 F.3d 1086, 1092 (11th Cir. 1996). In this case, the Court finds 
reversal  and  remand  necessary,  as  Defendant  concedes  reconsideration  and  further 
development of the record is required. Doc. 17.  Accordingly, it is       

ORDERED that the Commissioner’s motion is GRANTED. The decision of the 
Commissioner is REVERSED and REMANDED for further proceedings under 42 U.S.C. 
§ 405(g). It is further                                                   
ORDERED that, in accordance with Bergen v. Comm’r of Soc. Sec., 454 F.3d 1273, 
1278 n.2 (11th Cir. 2006), Plaintiff has 90 days after receipt of notice of an award of past 

due benefits to seek attorney’s fees under 42 U.S.C. § 406(b). See also Blitch v. Astrue, 
261 Fed. App’x 241, 241 n.1 (11th Cir. 2008).                             
A separate judgment will issue.                                      
DONE this 1st day of February, 2021.                                 

                                    /s/ Kelly Fitzgerald Pate           
                    KELLY FITZGERALD PATE                            
                    UNITED STATES MAGISTRATE JUDGE                   